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IN THE UNITED sTATEs DISTRICT CoURT ’"“ “ " "

FoR THE DISTRICT oF NEW MEXICo 2915 AUG 18 PH 3; g

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UNITED STATES OF AMERICA,

Plaintiff/ Petitioner-Appellee, No. l O-CR- l 01 -RB

v_ Motion for Leave to Proceed
on Appeal Without
Prepayment of Costs or Fees

JONATHAN BROOKS JONES,

Defendant/ Respondent-Appellant.

I, Jonathan Jones, the defendant/ appellant in the captioned case move this court for leave
to proceed in forma pauperis.
In support of this motion, I state that because of my poverty, I am unable to pay the costs

of said proceedings or give security therefor, I submit the following financial declaration.

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FINANCIAL DECLARATION
Affidavit to Accompany Motion for Permission to Appeal in Forma Pauperis

l swear or affirm under penalty of perjury that because of my poverty I am unable to pay the notice of
appeal filing fee and docket fees of my appeal or post a bond for them. I believe I am entitled to a
different result than that reached in the district court.

I further swear or affirm under penalty of perjury that the responses which I have made to the
questions and instructions below relating to my ability to pay the fees for my appeal are true.

Instructions. Please complete all questions in this application and then sign it on the last page. If
the answer to any question is “O” or “none,” or the question is “not applicable”, so indicate by writing
“0”, “none” or “not applicable (N/A)”. If additional space is needed to answer my question or to
explain your answer to any question, please use and attach a separate sheet of paper identified with
your name, the docket number of your case and the number of the question,

Myissuesonappealare: 7/\,6'/ Uf¢{€/ %5: Q/g{/`M/ Maf/UM 7[,0/` egg/4 f€/”C€

KECW%H %fSM/rf 7a /F 545 Cv §353@@) @:Z)

l. Are you or your spouse currently employed? Yes No g §

2. If you or your spouse are currently employed, state the name and address of your employer, the
length of your employment with that employer, and your monthly gross pay. Gross pay is pay
before any taxes or other deductions are taken. If you have more than one employer, please provide
the information requested below about the other employer(s) on a separate sheet of paper and attach
it to this application

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Yourself: Your Spouse:
Name and Address of Employer Name and Address of Employer
Length of Employment Length of Employment
Years Months Years Months
Monthly Gross Pay $ Monthly Gross Pay $

3. If you are currently employed, state the date of your last employment and your monthly gross pay
during your last month of employment. Gross pay is pay before any taxes or other deductions are
taken.

Date of your last employment (Month/ Year) for yourself incarcerated ; spouse
Monthly gross pay during last month of employment $
4. State whether you or your spouse have received money from any of the following sources during

the past twelve months, and, if so, the average monthly amount from that source. Adjust any money
that was received weekly, bi-weekly, quaterly, semi-annually, or annually to show the monthy rate.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Did you receive money from Average monthly amount during Amount expected next
any of the following sources past 12 month for you and your month
during the last 12 months? spouse if applicable.
You Spouse You Spouse

Self-Employment Y/N N/A $ $ $ $
Income from real property Y/N N/A $ $ $ $
(such as rental income)
Interests and dividends Y/N N/A $ $ $ $
Gifts § N/A $ §§QO-Q<':)$ s 60@,,¢2¢> $
Alimony Y/N N/A $ $ $ $

Child Support Y/N N/A $ $ $ $

3

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Retirement income from sources

such as social security, private

pensions, annuities, or insurance

policies Y/N N/A $ $ $ $

 

Disability payments such as social
security, other state or federal
government, or insurance

 

 

 

 

 

 

 

 

 

 

 

 

payments Y/N N/A $ $ $ $
Unemployment payments Y/N N/A $ $ $ $
Public assistance payments such as

welfare payments Y/N N/A $ $ $ $
Other sources of money

(specify: ) Y/N N/A $ $ $ $
TOTAL $ $ $ $

 

 

57;1~@0
5. State the amount of cash you and your spouse have: $ __@

State below any money you or your spouse in savings, checking, or other accounts in a bank or other
financial institution.

State below any money you or your spouse have in savings, checking, or other accounts in a bank or
other financial institution.

Bank or Other Financial Institution: Type of Account Amount you Amount your
such as savings, have: spouse has:
checking, or CD:

 

 

 

 

$ $
$ $
$ $

 

 

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6. State below assets owned by you and your spouse. Do not list ordinary household furnishings
and clothing.

 

 

 

 

 

 

Home Address:
Value: $
Amount owed on mortgages and
liens: $
Other real Address:
estate Value: $
Amount owed on mortgages and
liens: $
Motor vehicle Model / Year: Value: $
Amount owed: $
Motor vehicle Model / Year: Value: $
Amount owed: $
Other Description: Value: $

Amount owed: $

 

7. State below any person, business, organization, or governmental unit that owes you or your spouse
money and the amount that is owed.

 

 

Name of Person, Business, or Organization Amount Owed Amount Owed
that Owes You or Your Spouse Money You: Your Spouse:
$ $
$ $
5

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8. State the individuals who rely on you and your spouse for support. Indicate your relationship to you,

their age, and whether they live with you.

Name Relationship

 

 

 

Age Does this person live with
you?
Yes No
Yes No
Yes No
Yes No

 

9. Complete this question by estimating the average monthly expenses of you and your family. Show
separate amounts paid by your spouse. Adjust any payments that are made weekly, bi-weekly,
quaterly, semi-annually, or annually to show the monthly rate.

 

 

You Spouse
Rent or home mortgage (include lot rented for mobile $ $
home)
Are real estate taxes included? Yes No N/A
ls property insurance included? Yes No N/A
Utilities: Electricity and heating fuel $ $
Water and sewer $ $
Telephone $ $
Other $ $
Home maintenance (Repairs and upkeep) $ $
Food $ $
Clothing $ $
Laundry and dry cleaning $ S
Medical and dental expenses $ $
Transportation (not including car payments) $ $

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Recreation, clubs and entertainment, newspapers, magazines, etc. $ $
Charitable contributions $ $

Insurance (not deducted from wages or included in home

mortgage payments) $ $
Homeowner’s or renter’s $ $

Life $ $
Health $ $

Auto $ $

Other $ $

Taxes (not deducted from wages or included in home mortgate

payments) (specify) $

Installment payments

 

Auto: $ $
Credit Card: (name) $ $
Department Store: (name) $ $
Other $ $
Other $ $
Alimony, maintenance, and support paid to others $ $

Payments of support of additional dependents not living at your

home $ $
Regular expenses from operation of business, profession, or farm

(attach detailed statement) $ $

TOTAL MONTHLY EXPENSES $ $

7

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l(). Do you expect any major changes to your monthly income or expenses during the next four
months? Yes No
If yes, describe. N/A
11. Have you paid an attorney for services in connection with this case, including the completion of
this form? Yes ><> No
Ifyes, how much? $ /¢'{/"?OO'{DU
If yes, provide the name, address, and telephone number of the attorney:
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,/a_ § /,'{/M c cfc l M/Q, gKOO<¢)'
5575) 323 ~/5:,2 §
Have you promised to pay or do you anticipate paying an attorney any money for service in
connection with this case, including completion of this form? Yes No /><

If yes, how much? Yes No

If yes, provide the name, address, and telephone number of the attorney:

 

 

 

12. Have you paid anyone other than an attorney (such as a paralegal, typing service, or another

person) any money for services in connection with this case, including the completion of this

Yes No ><

form?

 

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If yes, how much? Yes No

If yes, provide the name, address, and telephone number of the person or service:

 

 

 

13. Have you promised to pay or do you anticipate paying anyone other than an attorney (such as a
paralegal, typing service, or another person) any money for service in connection with this case,
including the completion of this form? Yes No /><

If yes, how much? Yes No

If yes, provide the name, address, and telephone number of the person or service:

 

 

 

14. How much can you pay each month toward the docket fee for your appeal.

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15. Please provide any other information that helps to explain why you are unable to pay the docket

fees for your appeal.

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16. stare the address er your legal residenee;
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%,Mé_e;?// ///% sS/)v;?/

Your daytime phone number:

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Your ege: § fZ

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Years of schooling: ,S£goggt;l § ,'{

Your social security number: :) §§ v § 2 4 7753

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LASW OF THE UNITED STATES
OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT. 28 U.S.C. § 1746, 18 U.S.C. §

1621.

Daf€r _YS_L/Z__L‘ - 5 Signaturer 7/;@.22@¢5_?;;&0%

CERTIFICATE
(To be completed by the institution of incarceration)

I certify that the applicant named herein has the sum of $ 5 7Z ' 5/ on account to his
credit at /@<Z . 54 Z:,w"? (name of institution). l further certify that during the past six

months, the applicant’s average monthly expenses was $ 9/ g Z - 0 9 . I further certify that during
the past six months the average of monthly deposits to the applicant’s account was $ 3_@ 0 ' 0 o

(Please attach a certified copy of the applicant’s trust account st ement showing transactions
for the past six months).

DATE sIGy/%ORE oF AUTHoRIZED oFFICER
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Repm'l l)ate: 081 |4"30|5 living Quartcr\: t `t)l~l `=o|,
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General Information l Account Ba|anccs | Commissag{ l~'listol}' | Commissarv Rcstrictions 1 Comments

 

General Information

Administrativc Hold Indicator: No
No Power of Attomey: No
Never Waive NSF Fee: No
Max Allowed Deduction %: 100
PIN: 0051
PAC #: 562424415
Revalidation Date: 22nd
FRP Participation Status: Completed
Airived From: OKL
Transferred To:
Account Creation Date: 10/31/2003
Local Account Activation Date: l/l7/2013 3:23:49 AM

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Sort Codes: l

Last Account Update: 8/13/2015 4:59:17 PM
Account Status: Active

Phone Balance: $7.80

Pre-Release Plan Information

 

Target Pre-Release Account Balance: $1_000.00
Pre-Release Deduction %: 0%

Income Categories to Deduct From: Payroll s1 Outside Source Funds

FRP Plan lnformation

FRP Plan Type Expected Amount Expected Rate

 

Account Balances

 

Account Balance: $592.51 . g »~ » 4 H~ f ‘ " "`
Pre'R@‘@aS@ Balan¢€: $O'OO l ' Federa\ Gorrectionat \nst‘.tution
Debt Encumbrance: $0.00 La Tl.'il'i§, p. 0 BDX igplg
n\»_e' §i.@r»- inn e/T;' car FQH"*'
sPo Enedmbranee; $0.00 An‘lhOr! ' ‘ ~ - ~ '

Other Encumbrances: $0.00

  
 

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Outstanding Negotiable lnstruments: $0.00

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Administrative Hold Balance:

Available Balance:

National 6 Months Deposits:

National 6 Months Withdrawals;

Available Funds to be considered for IFRP Payments;
National 6 Months Avg Daily Balance:

Local Max. Balance - Prev. 30 Days:

Average Balance - Prev. 30 Days:

$0.00
$592.51
$3,124.48
$2,625.60
$2,674.48
$454.89
$l ,002.60
$754.98

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Commissary History

Purchases

Validation Period Purchases:
YTD Purchases:

Last Sales Date:

SPO lnformation

 

SPO's this Month:
SPO $ this Quarter:

Spending Limit Info

Spending Limit Override:
Weekly Revalidation:
Bi-Weekly Revalidation:
Spending Limit:
Expended Spending Limit:

Remaining Spending Limit:

$347.65
$3,527.70
8/13/2015 12;03: 12 PM

0
$0.00

$360.00
$329.65
$30.35

 

Commissary Restrictions

t Spending Limit Restrictions

 

 

Restricted Spending Limit: $0.00

 

 

Restricted Expended Amount: $0.00 :v M- ~ -;1~_“;?:‘1:`

Restricted Remaining Spending Limit: $0.00 F,¢v;'i:“; _ `u`

Restriction Start Date: N/A ` Federa\ correct\ona\ \n§i’gtui*ign

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Restrictlon End Date: N/A La '\'una 33 G §;`}!\,‘R l= n -:ee.; ” q gumz
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List Name List Type Start Date Active
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Comments

Comments:

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chi)rt Date: 0<\`»'1~11/20 | 5 living Qual'tcrs: (,'11.2*2361,
ch()rl 'l`ime: 12:411;()7 1’:\1'1
Date/'I`ime Transaction Type Amount Be_f# M Balance
8/13/2015 4:59:17 PM TRUL Withdrawal ($5.00) TL0813 $592.51
8/13/2015 12:03: 12 PM Sa11:s -1"in1,:'crprim ($74.10) 70 $597.51
8/11/2015 12:22:02 PM Sule -1"`1111=1¢1'911111 ($119.20) 94 $671.61
8/8/2015 10:24:25 PM Phone Withdrawal ($12.00) TFN0808 $790.81
8/8/2015 6:54:45 PM TRUL Withdravval ($5.00) TL0808 $802.81
8/7/2015 8:25:08 PM TRUL Withdrawal ($5.00) TL0807 $807.81
8/6/2015 11:00:01 PM TRUL Withdrawal ($5.00) TL0806 $812.81
8/6/2015 6:30:42 AM Payr011 - IPP $10.56 PIPP0715 $817.81
8/4/2015 1:28:55 PM TRUL Withdrawal ($2.00) TL0804 $807.25
8/4/2015 12:00:48 PM Salcs - 1`i1)gc1])rim ($82.80) 55 $809_25
8/3/2015 8:19:56 PM TRUL Withdrawal ($2.00) TL0803 $892.05
7/31/2015 11:58:43 AM S:l|cs ~1"111»0\‘)1'1111 ($6.00) 49 $894_05
7/30/2015 81 19:47 PM Phone Withdrawal ($5.00) TFN0730 $900.05
7/30/2015 6:53:58 PM TRUL Withdrawal ($5.00) '1`L0730 $905.05
7/29/2015 5:32:16 PM TRUL Withdrawal ($10.00) 1110729 $910.05
7/28/2015 11:52:37 AM SaIes - 1"111;)@1]\11\\1 ($10.00) 58 $920.05
7/28/2015 11:49:24 AM Salcs - 1"in1:)'crprii\1 ($55.55) 56 $930.05
7/28/2015 ll:l 1:06 AM TRUL Withdrawal ($5.00) TL0728 $985.60
7/26/2015 10:20:30 PM Phone Withdrawal ($10.00) TFN0726 $990.60
7/26/2015 8:21 137 PM TRUL Withdrawal ($2.00) TL0726 $1,000.60
7/26/2015 5:01:34 AM Pre-Release Transaction $0.00 70188402
7/26/2015 5:01:34 AM Lockbox - CD $500.00 70188402 $1,002.60
7/25/2015 2:14:53 PM TRUL Withdrawal ($2.00) TL0725 $502.60
7/25/2015 2:14;33 PM Trugram ($74.95) TG0725 $504.60
7/24/2015 7:02:02 PM TRUL Withdrawal ($5.00) TL0724 $579.55
7/24/2015 9:50:55 AM TRUL Withdrawal ($5.00) TL0724 $584_55
7/22/2015 6:57'.44 AM TRUL Withdrawal ($5.00) TL0722 $589_55
7/21/2015 12:27:01 PM TRUL Withdrawal ($10.00) TL0721 $594.55
7/21/2015 11:56:20 AM Sz\1cs -1"ingcrprint ($35,60) 83 $6()4,55
7/19/2015 6:44:23 PM Phone Withdrawal ($3.00) TFN0719 5640.15
7/16/2015 5:12: 12 PM TRUL Withdrawal ($5.00) TL0716 $643. 15
7/15/2015 10:46:49 PM TRUL Withdrawal ($5.00) TL0715 $648.15
7/15/2015 12:15:55 PM S:.»lIcs -1-`in1=vcrprim ($51,85) 70 $653.15
7/13/2015 10:21:57 PM Phone Withdrawal ($9.00) TFN0713 $705.00
7/12/2015 11:57: 19 AM TRUL Withdrawal ($10.00) TL0712 $714_()()
7/11/2015 5:00:36 AM Pre-Release Transaction $0.00 70187401
7/11/2015 5:00:36 AM Lockbox - CD $600.00 70187401 $724.0()
7/10/2015 10:25:59 PM TRUL Withdrawal ($5.00) TL0710 $124.00
7/9/2015 2:45:32 PM Payroll - IPP $2.16 PIPP0615 $129,00
7/8/2015 5:02: 19 PM TRUL Withdrawal ($5.00) TLO708 $126.84
7/7/2015 6:27:30 AM Salcs - 1"'ingerprint ($48.20) 1 $131.84
7/6/2015 10:1 1150 PM Phone Withdrawal ($8.00) TFN0706 $18()_()4
7/3/2015 8:27;37 PM TRUL Withdrawal ($2.00) TL0703 $188.04
6/30/2015 7:38:31 PM TRUL Withdrawal ($2.00) TL0630 $190.04
6/30/2015 3:19:31 PM TRUL Withdrawal ($2.00) TL0630 $192.04
6/29/2015 2:42.'02 PM TRUL Withdrawal ($2.00) TL0629 $194.04
6/29/2015 12:05:26 PM S'dlcs - 1"in1,’crwrim ($6.00) 70 $196,()4
6/29/2015 6:41:10 AM S:\|cs -1"`inucr)1'im ($73.85) 6 $202.04
6/26/2015 10:15:29 PM Phone Withdrawal ($5.00) TFN0626 $275.89
6/26/2015 9:49:49 PM TRUL Withdrawal ($2.00) 'I`L0626 $280.89
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/»\11 Transactions

 

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inmate .\amc: _1()1\11,1$_.1()N/\'1|1.1\N lli)usingl nit: 1,1'\1`~1'».'\
chol't Date: ('18,1'1~1/2015 living ()uxrtcrs: 1113-1361
chm‘l '1'11111-: 12:10:2() 1’1\"1
Date/Tim__e T_wn_SaLiO_\QXM ALO"_H! Mf_& E_@\_YLM# B_a_lm
6/25/2015 10:06:23 PM TRUL Withdrawal ($5.00) TL0625 $282.89
6/24/2015 12:37:33 PM Sales -1"111§€§@1'1111 ($12.60) 59 $287.89
6/22/2015 6;35: 13 AM Salcs - 1"1110:01'91'1111 ($80.65) 8 $300.49
6/21/2015 10:19:12 PM TRUL Withdrawal ($5.00) TL0621 $381.14
6/20/2015 12:05:01 PM TRUL Withdrawal ($5.00) TL0620 $386.14
6/19/2015 3:06:26 PM TRUL Withdrawal ($5.00) TL0619 $391. 14
6/17/2015 6:09;29 AM TRUL Withdrawal ($5.00) TL0617 $396. 14
6/15/2015 5:59:12 PM TRUL Withdrawal ($2.00) TL0615 $401.14
6/15/2015 6:24:24 AM Szl|cs -1`31111¢‘01')1'in1 ($65,70) 1 $403.14
6/13/2015 7:51:39 PM TRUL Withdrawal ($5.00) TL0613 $468.84
6/12/2015 10:25:45 PM TRUL Withdrawa\ ($5.00) TL0612 $473.84
6/11/2015 6:14:10 PM TRUL Withdrawal ($2.00) TL0611 $478.84
6/9/2015 10:17:48 PM Phone Withdrawal ($8.00) TFN0609 $480.84
6/9/2015 2:45:34 PM Payroll - IPP $2.16 PIPP0515 $488184
6/8/2015 11:45:38 AM S'd|es - 1""111;1€1`pr1m ($4.70) 55 $486.68
6/8/2015 6:24:16 AM Sales - 1~'1`in1zcggrint ($104.50) 3 $491,38
6/6/2015 5:53:36 PM TRUL Withdrawal ($5.00) TL0606 $595.88
6/2/2015 10:20:10 PM Phone Withdrawal ($8.00) TFN0602 $600.88
6/2/2015 7:15;08 PM TRUL Withdrawal ($5.00) TL0602 $608.88
6/1/2015 6:36:40 AM S:i|cs - 11`11\§‘€1'91‘1111 ($86.50) 4 $613.88
6/1/2015 5:01:20 AM Pre-Release Transaction $0.00 70184403
6/1/2015 5:01:20 AM Lockbox - CD $500.00 70184403 $700.38
5/30/2015 6:45:09 PM TRUL Withdrawal ($5.00) TL0530 $200.38
5/28/2015 10:18:09 AM TRUL Withdrawal ($5.00) TL0528 $205_38
5/27/2015 3:23:35 PM TRUL Withdrawal ($5.00) TL0527 $21().38
5/27/2015 6:38:48 AM S:!|es - 11`111101‘ rim ($116.25) 23 $215.38
5/25/2015 6:06:36 AM TRUL Withdrawal ($5.00) TL0525 $331.63
5/24/2015 10:06:31 PM TRUL Withdrawal ($2.00) TL0524 $336.63
5/24/2015 5:21:56 PM TRUL Withdrawal ($2.00) TL0524 $338.63
5/22/2015 6:46:43 PM Phone Withdrawal ($8.00) TFN0522 $340.63
5/20/2015 6:16:22 PM TRUL Withdrawal ($5.00) TL0520 $348.63
5/20/2015 12:38:36 PM Su|cs - 15111<»01])rinl ($2.00) 91 $353,63
5/19/2015 10:59;43 PM TRUL Withdrawal ($5.00) TL0519 $355_63
5/18/2015 11:37:42 AM TRUL Withdrawal ($5.00) TL0518 $360.63
5/14/2015 3:29:26 PM TRUL Withdrawal ($5.00) TL0514 $365.63
5/13/2015 6:11:01 AM TRUL Withdrawal ($5.00) TL0513 $370.63
5/11/2015 10:03:32 PM TRUL Withdrawal ($5.00) TL0511 3375.63
5/11/2015 9:54:28 PM Phone Withdrawal ($9.00) TFN051 1 $380.63
5/11/2015 6:37:23 AM S'alc.s - |*ingcrpl'inl ($185.35) 7 $389.63
5/11/2015 6:37:23 AM SPO - Released $59.80 1340
5/10/2015 10:57:43 AM TRUL Withdrawal ($2.00) TL0510 $574.98
5/8/2015 1:00:29 PM Payr011 - IPP $2.16 PIPP0415 $576.98
5/7/2015 10:45:36 PM TRUL Withdrawal ($5.00) TL0507 $574.82
5/7/2015 10:06:36 AM TRUL Withdrawal ($2.00) TL0507 $579.82
; 5/4/2015 11:12:59 AM TRUL Withdrawal ($5.00) TL0504 $581.82
1 5/4/2()15 6;49:02 AM Sul\.‘s - l"inycrprint ($8.05) 17 $586.82
1 5/4/2015 6:44: 12 AM Sa»llcs - 1~`1111=1€1'[31'1111 ($0.90) 14 $594.87
1 5/4/2015 6:42:43 AM Su|es - 11`111§>€1151‘in1 ($75.00) 13 $595.77
1 5/2/2015 10:25:03 PM Phone Withdrawal ($12.00) TFN0502 $670.77
5/1/2015 1:50:14 PM TRUL Withdrawal ($l0.00) TL0501 $682.77

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5/1/2015 10:58:08 AM SPO ($59.80) 1340
4/30/2015 12:03:15 PM Sa1cs - 1"`ingcrprim ($20.00) 34 $692.77
4/27/2015 6:27:34 AM 811105 - Fin<,:cr rim ($87.65) 6 $712.77
4/26/2015 6:08:51 PM Phone Withdrawal ($10,00) TFN0426 $800.42
4/25/2015 10:19:58 PM TRUL Withdrawal ($10.00) TL0425 $810.42
4/23/2015 7:45:33 PM TRUL Withdrawal ($10.00) TL0423 $820.42
4/22/2015 7:06:00 PM Phone Withdrawal ($9.00) TFN0422 $830.42
4/22/2015 6:59:44 AM TRUL Withdrawal ($5.00) TL0422 $839.42
4/22/2015 5:00:41 AM Pre-Release Transaction $0.00 70181601
4/22/2015 5:00;41 AM Lockbox - CD $500.00 70181601 $844.42
4/21/2015 3:28:41 PM TRUL Withdrawal ($5.00) TL0421 $344.42
4/20/2015 8:28:06 PM TRUL Withdrawal ($5.00) TL0420 $349.42
4/20/2015 6:32:59 AM Salcs - 1'"1ngei]vrim ($32.40) 9 $354.42
4/17/2015 8:05:07 PM Phone Withdrawal ($9.00) TFN0417 $386.82
4/17/2015 9:51:47 AM TRUL Withdrawal ($5.00) TLO417 $395.82
4/15/2015 8:19:28 PM Phone Withdrawal ($7.00) TFN0415 $400,82
4/15/2015 5:01;21 PM TRUL Withdrawal ($10.00) TL0415 $407.82
4/13/2015 6:47:42 AM Sulcs - 1111\1=1@1]){1111 ($4.25) 17 $4]7_82
4/13/2015 6:45:30 AM Sz11c‘s - 1"in131\1]31'1111 ($78.75) 16 $422.07
4/12/2015 6:47:20 PM Phone Withdrawal ($6,00) TFN0412 $500.82
4/11/2015 10:46:21 PM TRUL Withdrawal ($5.00) TL0411 $506.82
4/10/2015 5:56:23 PM TRUL Withdrawal ($5.00) TL0410 $511.82
4/10/2015 1149:26 PM Payroll - IPP $2.16 PIPP0315 $516.82
4/7/2015 7;24:40 PM TRUL Withdrawal ($10,00) TL0407 $514.66
4/7/2015 5:15:31 PM TRUL Withdrawal ($5.00) TL0407 $524.66
4/4/2015 6:16: 14 PM TRUL Withdrawal ($5.00) TL0404 $529.66
4/3/2015 6:45:22 AM Salcs - I~`ir\g¢r[}rint ($28.75) 22 $534_66
4/1/2015 6:06:57 PM Trugram ($104.95) TG0401 $563.41
3/28/2015 10:55: 14 PM TRUL Withdrawal ($10.00) TL0328 $668_36
3/28/2015 11:25:27 AM TRUL Withdrawal ($5.00) TL0328 $678.36
3/27/2015 5:07:34 PM TRUL Withdrawal ($2.00) TL0327 $683.36
3/26/2015 7:56:37 PM TRUL Withdrawal ($5.00) TL0326 $685.36
3/25/2015 5:01:14 AM Pre-Release Transaction $0.00 70179701
3/25/2015 5:01:14 AM Lockbox - CD $500.00 70179701 $690_36
3/24/2015 5:00:37 PM TRUL Withdrawal ($10.00) TL0324 $190.36
3/21/2015 6:11:09 PM TRUL Withdrawal ($10.00) TL0321 $200.36
3/17/2015 10:16:40 PM TRUL Withdrawal ($10.00) TL0317 $210.36
3/17/2015 2:05:32 PM TRUL Withdrawal ($5.00) TL0317 $220.36
3/16/2015 6:37:02 AM Sule - 11`1112€1‘11'1111 $0.00 8 $225_36
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3/15/2015 11:12:09 AM TRUL Withdrawal ($5.00) TL0315 $23()_46
3/13/2015 10:37;18 PM TRUL Withdrawal ($5.00) '1`L0313 $235.46
3/12/2015 2:35:40 PM Phone Withdrawal ($6.00) TFN0312 $240.46
3/12/2015 12:20:10 PM Su\cs ~ 11`in¢’c drim ($88.75) 94 $246.46
3/12/2015 10;05:01 AM Phone Withdrawal ($4.00) TFNO312 $335.21
3/11/2015 7:21:14 PM Phone Withdrawal ($2.00) TFN0311 5339.21
3/10/2015 9:48:44 AM Payroll - IPP $5.28 PIPP0215 $341.21
3/9/2015 8113:47 PM Phone Withdrawal ($5.00) TFN0309 $335.93
3/7/2015 10:04:44 PM TRUL Withdrawal ($10.00) TL0307 $340.93
3/6/2015 6:53: 12 PM Phone Withdrawal ($8.00) TFN0306 $350.93
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3/6/2015 11:58:34 AM Su|cs -1"`i11gcrp1~im ($106.20) 35 $358.93
3/5/2015 3:04:35 PM TRUL Withdrawal ($5.00) TL0305 $465. 13
3/3/2015 9:58:28 PM TRUL Withdrawal ($5.00) TL0303 $470.13
3/1/2015 2:19:33 PM Phone Withdrawal ($8.00) TFN0301 $475.13
2/28/2015 8:15:32 PM TRUL Withdrawal ($10.00) TL0228 $483. 13
2/28/2015 4:42:00 PM TRUL Withdrawal ($10.00) TL0228 $493.13
2/28/2015 5:00:39 AM Pre-Release Transaction $0.00 70178001

2/28/2015 5:00:39 AM Lockbox - CD $500.00 70178001 $503.13
2/27/2015 5:05:00 PM TRUL Withdrawal ($2.00) TL0227 $3.13
2/27/2015 6:39:30 AM Salcs - 1~`111§¢1`pri11t ($30.00) 26 $5. 13
2/26/2015 8:05:55 PM Phone Withdrawal ($3.00) TFN0226 $35. 13
2/22/2015 2:57:30 PM TRUL Withdrawal ($2.00) TL0222 $38.13
2/22/2015 1:26:36 PM Phone Withdrawal ($8.00) TFN0222 $40. 13
2/21/2015 6:20:28 PM TRUL Withdrawal ($2.00) TL0221 $48.13
2/19/2015 5:35:16 PM TRUL Withdrawal ($5.00) TL0219 $50.13
2/18/2015 5:07:25 PM TRUL Withdrawal ($5.00) TL0218 $55.13
2/17/2015 12:29:00 PM Salcs - ljiiu\=>crprint ($23.50) 92 $60.13
2/15/2015 12:41:05 PM TRUL Withdrawal ($5.00) TL0215 $83.63
2/14/2015 5:23:05 PM TRUL Withdrawal ($5.00) TL0214 $88.63
2/13/2015 5:54:05 PM Trugram ($54.95) TG0213 $93.63
2/13/2015 6:46:50 AM S;\lc:~' - 11`i112c1]7rim ($47.50) 31 $148.58
2/12/2015 12:04:28 PM Sa|cs - 1"ingergri111 ($52.00) 110 $196.08
2/12/2015 12:04:28 PM SPO - Released $52.00 792

2/11/2015 7:59:17 AM Payroll - DAP $40.00 PDAP0115 $248.08
2/11/2015 7:59:14 AM Payro11 - IPP $5.28 PIPP0115 $208.08
2/9/2015 5:19:41 PM TRUL Withdrawal ($10.00) TL0209 $202.80
2/8/2015 1:09:36 PM Phone Withdrawal ($6.00) TFN0208 $212.80
2/6/2015 6:30:38 AM Sa1cs »1"ingcrprim ($48.30) 14 $218.80
2/4/2015 7:45:34 PM Phone Withdrawal ($8.00) TFN0204 $267.10
2/2/2015 1:02:18 PM SPO ($52.00) 792

1/30/2015 6:43:26 PM TRUL Withdrawal ($10.00) TL0130 $275,10
1/30/2015 2;14:33 PM TRUL Withdrawal ($10.00) TL0130 $285.10
1/30/2015 6:33:03 AM Sulcs -11`1111=>01‘1;1'1111 ($65.25) 17 ~ $295. 10
1/29/2015 6:29:16 PM TRUL Withdrawal (310.00) TL0129 $360.35
1/28/2015 6:31:12 PM Phone Withdrawal ($8.00) TFN0128 $370.35
1/25/2015 12:51:34 PM Phone Withdrawal ($5.00) TFN0125 $378.35
1/25/2015 11;07:02 AM TRUL Withdrawal ($15.00) TL0125 $383.35
1/23/2015 6:44:37 AM Salcs - 11`in1,>ei]wrinl ($78.70) 11 5398.35
1/21/2015 12:53:45 PM TRUL Withdrawal ($30.00) TL0121 $477.05
1/21/2015 11:34:13 AM Pre-Release Transaction $0.00 70175301

1/21/2015 11:34:13 AM Lockbox - CD $500.00 70175301 $507.05
1/20/2015 8:05:01 PM TRUL Withdrawal ($5.00) TL0120 $7.05
1/18/2015 6:36:54 PM TRUL Withdravval ($2.00) TL0118 $12.05
1/17/2015 11:47:08 AM TRUL Withdrawal ($2.00) TL0117 $14.05
1/16/2015 5:53:16 PM TRUL Withdrawal ($5.00) TL0116 $16.05
1/16/2015 7:06:58 AM S:\|cs -1"ingc1'prinl ($58.95) 29 $21.05
1/13/2015 10:04:54 PM TRUL Withdrawal ($5.00) TL0113 $80.00
1/12/2015 10:55:12 PM TRUL Withdrawal ($5.00) TL0112 $85.00
1/11/2015 5;01:09 PM Phone Withdrawal ($5.00) TFN0111 $90.00
1/10/2015 7:53:55 PM TRUL Withdrawal ($5.00) TL01 10 $95.00

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1/10/2015 6:23:59 PM Phone Withdrawal ($2.00) TFNOI 10 $100.00
1/9/2015 8:1 1158 PM TRUL Withdrawal ($2.00) TL0109 $102.00
1/9/2015 4:30:34 PM Payroll - IPP $2.16 PIPP1214 $104.00
1/9/2015 1:30:54 PM TRUL Withdrawal ($5.00) TL0109 $101.84
1/9/2015 11:46:50 AM Sak:s -1"111?¢1‘[31'1111 (5113.40) 89 $106.84
1/8/2015 6:42:00 AM TRUL Withdrawal ($10.00) TL0108 $220.24
1/5/2015 10:27:02 PM Phone Withdrawal ($5.00) TFN0105 $230.24
1/3/2015 10:24:57 PM TRUL Withdrawal ($5.00) TL0103 $235.24
1/2/2015 6:43:03 AM Salcs - 1"in;‘crprinl ($97.60) 29 $240.24
12/31/2014 10:16:10 PM TRUL Withdrawal ($5.00) TL1231 $337.84
12/31/2014 7;20:19 PM TRUL Withdrawal ($5.00) TL1231 $342.84
12/31/2014 6:12:11 PM Phone Withdrawal ($8.00) TFN1231 $347.84
12/27/2014 6:04:39 PM TRUL Withdrawal ($5.00) TL1227 $355.84
12/26/2014 7:46:59 PM Phone Withdrawal ($10.00) TFN1226 $360.84
12/24/2014 3:07:05 PM TRUL Withdrawal ($10.00) 1141224 $370.84
12/24/2014 11:59:23 AM Su1cs - 1"inocrprim ($104.20) 113 $380.84
12/23/2014 9:55:09 PM Phone Withdrawal ($8.00) TFN1223 $485.04
12/22/2014 2:22:00 PM TRUL Withdrawal ($5.00) TL1222 $493.04
12/22/2014 2:20:26 PM Trugram ($104.95) TG1222 $498.04
12/22/2014 5:00:15 AM Pre-Release Transaction $0.00 70173503
12/22/2014 5:00:15 AM Lockbox - CD $500.00 70173503 $602,99
12/20/2014 5:45:37 PM TRUL Withdrawa| ($5.00) TL1220 $102.99
12/19/2014 5:58:59 PM TRUL Withdrawal ($5.00) TL1219 $107.99
12/18/2014 3:18:03 PM TRUL Withdrawal ($5.00) TL1218 $112.99
12/18/2014 6:45: 13 AM Su|cs -1~‘1111;1¢1‘1)1'1111 ($13.0()) 26 $117.99
12/17/2014 3:12:54 PM TRUL Withdrawal ($5.00) TL1217 $130.99
12/16/2014 6:23: 14 PM TRUL Withdrawal ($5.00) TL1216 $135.99
12/15/2014 10:44:08 AM Phone Withdrawal ($8.00) TFN1215 $14().99
12/14/2014 12:47:41 PM Phone Withdrawal (S5.00) TFN1214 $148.99
12/12/2014 9:49:41 PM TRUL Withdrawal ($5.00) TL1212 $153.99
12/12/2014 6:39:09 AM Sa|cs -1"111§¢1~1grin1 ($61.95) 20 $158.99
12/11/2014 6:33:58 PM TRUL Withdrawal ($5.00) TL1211 $220.94
12/10/2014 2:32;00 PM TRUL Withdrawal ($5.00) TL1210 $225.94
12/10/2014 10:43:05 AM Phone Withdrawal ($7.00) TFN1210 $230.94
12/8/2014 11:17:23 AM Payroll - IPP $5.28 PlPP1114 $237.94
12/6/2014 3:00:34 PM TRUL Withdrawal ($5.00) TL1206 $232.66
12/4/2014 6:43:55 AM S;)|cs -1*`111<,;;@1‘)\‘1111 ($103.25) 23 $237.66
12/3/2014 10:45:26 PM TRUL Withdrawal ($10.00) TL1203 $340.91
12/3/2014 5:44:33 PM Phone Withdrawal ($10,00) TFN1203 $350.91
12/3/2014 11:17:52 AM TRUL Withdrawal ($5.00) TL1203 $360.91
11/28/2014 12:13:57 PM Salcs -1"`ingcrnrim ($114.55) 112 $365.91
11/28/2014 9:27:23 AM Phone Withdrawal ($10.00) TFN1128 $480.46
11/27/2014 10:22:46 PM TRUL Withdrawal ($5.00) TL1127 $490.46
11/26/2014 5:54:25 PM TRUL Withdrawal ($5.00) TL1126 $495.46
11/24/2014 6;41:57 AM S;)|cs -1"111§'01‘1)1'1111 ($73.85) 28 $500_46
11/24/2014 6:41:57 AM SPO - Released $73.85 313
11/23/2014 5:54:03 PM Phone Withdrawal ($10.00) TFN1123 $574.31
11/23/2014 1:31:08 PM TRUL Withdrawal ($10.00) TL1123 $584.31
11/23/2014 5:01:15 AM Pre-Release Transaction $0.00 70171702
11/23/2014 5:01:15 AM Lockbox - CD $500.00 70171702 $594.31
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11/22/2014 6:19:42 PM Phone Withdrawal ($3.00) TFN1122 $94.31
11/21/2014 4256: 12 PM Phone Withdrawal ($3.00) '1FN1121 $97.31
11/20/2014 10:43:51 PM TRUL Withdrawal ($5.00) TL1120 $100.31
11/20/2014 6251211 AM Su|es -1"1111=»01])rim ($14.35) 23 $105.31
11/17/2014 10:11210 PM Phone Withdrawal ($3.00) TFN1117 $119.66
11/17/2014 7:01:55 AM TRUL Withdrawal ($5.00) TL1117 $122.66
11/17/2014 7:01:42 AM Pre-Release Transaction $50.00 TL112014
11/16/2014 6:09:51 PM Phone Withdrawal ($5.00) TFN1116 $127.66
11/16/2014 1;35:20 PM TRUL Withdrawal ($2.00) TL1116 $132.66
11/14/2014 6:56:09 AM Sulcs -1~'111;€1])rim ($5.50) 36 Sl34.66
11/14/2014 6254259 AM Su\cs -1"'111§01'1)1'1111 ($49.50) 35 $140.16
11/13/2014 6:56:03 AM TRUL Withdrawal ($5.00) TL1113 $189.66
11/12/2014 5:51:33 PM Pre-Release Transaction $50.00 TL112014
11/10/2014 5:57:41 PM TRUL Withdrawal ($5.00) TLl 1 10 $194.66
1|/10/2014 3214:31PM Payroll - IPP $5.28 PIPP1014 $l99.66
11/9/2014 6:39235 PM Phone Withdrawal ($7.00) TFN1109 $194.38
11/7/2014 8217:30 AM SPO ($73.85) 313
11/6/2014 7:28:02 PM Phone Withdrawal ($6.00) TFN1106 $201.38
11/6/2014 12:09244 PM Salcs -1'"1110= 61]1121111 ($108.10) 79 $207.38
11/5/2014 2:49:13 PM TRUL Withdrawal ($10.00) TL1105 $315.48
11/3/2014 11208:01 AM Pre-Re|ease Transaction $100.00 TL112014
11/2/2014 6:51:41 PM TRUL Withdrawal ($5.00) TL1102 $325.48
11/2/2014 6220:10 PM Phone Withdrawal ($11.00) TFN1102 $330.48
10/31/2014 7:08254 PM TRUL Withdrawal ($2.00) TL1031 $341.48
10/31/2014 5233204 PM TRUL Withdrawal ($5.00) TL1031 $343.48
10/30/2014 11252:56 AM S:xlcs - 1"inyc\‘pr1'n1 ($105.30) 69 $348.48
10/30/2014 10:45253 AM Trugram ($91.95) TG1030 $453.78
10/30/2014 10:44255 AM Pre-Release Transaction $100.00 TL102014
10/29/2014 6:48228 PM TRUL Withdrawal ($5.00) TL1029 $545.73
10/28/2014 8211230 PM TRUL Withdrawal ($5.00) TL1028 $550.73
10/27/2014 7209214 AM TRUL Withdrawal ($10.00) TL1027 $555.73
10/26/2014 5:54: 18 PM TRUL Withdrawal ($5.00) TL1026 $565.73
10/25/2014 10:37:50 PM Pre-Release Transaction ($210.00) TL102014
10/25/2014 10215:08 PM Phone Withdrawal ($12.00) TFN1025 $570.73
10/25/2014 6227249 PM TRUL Withdrawal ($10.00) TL1025 $582.73
10/24/2014 511 1259 PM TRUL Withdrawal ($10.00) TL1024 $592.73
10/24/2014 5:00259 AM Pre-Release Transaction $0.00 70169701
10/24/2014 5:00259 AM Lockbox - CD $500.00 70169701 $602.73
10/23/2014 5:10:26 PM TRUL Withdravval ($5.00) TL1023 8102.73
10/23/2014 5:10:08 PM Trugram ($94.95) T01023 $107.73
10/23/2014 5209239 PM Pre-Release Transaction $95.00 TL102014
10/23/2014 6:51:47 AM S:lles - 15111;»01'[;1‘1111 ($91.70) 33 $202.68
10/22/2014 12:55258 PM Pre-Release Transaction $100.00 TL102014
10/22/2014 12:55212 PM TRUL Withdrawal ($10.00) TL1022 $294.38
10/22/2014 11:27223 AM TRUL Withdrawal ($5.00) TL1022 $304.38
10/21/2014 5:50209 PM TRUL Withdrawal ($10.00) TLIOZI $309.38
10/20/2014 8:46252 AM Headphones $18.00 793-C $319.38
10/17/2014 2:53:02 PM TRUL Withdrawal ($5.00) TL1017 $301.38
10/17/2014 6241:02 AM Salcs - I*`ingcxyrint ($9.80) 17 $306.38
10/17/2014 6239;45 AM Szlles - Fingcrprinl ($84.55) 16 $316.18
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10/10/2014 10204:38 PM
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10/10/2014 6:44218 PM
10/9/201411:46215 AM
10/8/2014 6217:27 PM
10/5/2014 5:35:02 PM
10/3/2014 12230:30 PM
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$l5.00 TL102014

$2.16 PIPP1014
($9.00) TFN1011
($5.00) TL1010

($39.95) TG1010
($5.00) TL1010

($108.35) 87
($5.00) TL1008
($7.00) TFN1005

($107.35) 116
($7.00) TFN1001

($180.00) TL102014

($104.95) TG1001

httpS://10.3 3.61.106/truweb/VieWAllTranSCombined.21st

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Payment# Ba|ance
$400.73

$405.73
$403.57
$412.57
$417.57
$457.52
$462.52
$570.87
$575.87
$582.87
$690.22

$697.22

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